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                                                                       FILED
                 IN THE UNITED STATES DISTRICT COURT                    APR 18 2017
                     FOR THE DISTRICT OF MONTANA
                                                                        Clefit, U.S Courts
                           HELENA DIVISION                              District Of Montana
                                                                         Missoula Division




 DEWAYNE BEARCHILD,                               CV 14-12-H-DLC-JTJ

                     Plaintiff,
                                                          ORDER
        vs.

 KRISTY COBBAN, LARRY PASHA,
 SAM JOVANOVICH, DAN
 JOHNSON, BRUNO KRAUS, RON
 MCDONALD,

                     Defendants.

      Before the Court are United States Magistrate Judge John T. Johnston's

Findings and Recommendations in this case entered on November 30, 2016, and

January 18, 2017. (Docs. 190, 212.) Judge Johnston recommends the following:

all motions to strike be denied; Plaintiff Dewayne Bearchild's ("Bearchild")

motions for injunctive relief be denied; Bearchild's discovery motions be denied;

all Defendants' motions for summary judgment be granted except for Defendant

Larry Pasha ("Sergeant Pasha"); and Bearchild's requests for a protective order

and court intervention be denied.

      Bearchild timely filed his objection with this Court on December 14, 2016,

and February 3, 2017, and so is entitled to de novo review of those findings and

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recommendations to which he specifically objects. 28 U.S.C. § 636(b)(l)(C).

This Court reviews for clear error those findings and recommendations to which

no party objects. See McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc.,

656 F.2d 1309, 1313 (9th Cir. 1981); Thomas v. Arn, 474 U.S. 140, 149 (1985).

Clear error exists if the Court is left with a "definite and firm conviction that a

mistake has been committed." United States v. Syrax, 235 F.3d 422, 427 (9th Cir.

2000) (citations omitted).

      Notwithstanding the above,"[ w]here a petitioner's objections constitute

perfunctory responses argued in an attempt to engage the district court in a

rehashing of the same arguments set forth in the original habeas petition, the

applicable portions of the findings and recommendations will be reviewed for

clear error." Rosling v. Kirkegard, 2014 WL 693315 at *3 (D. Mont. Feb. 21,

2014) (citations omitted).

                                    DISCUSSION

      Because the parties are familiar with the factual and procedural background,

which Judge Johnston detailed in his very thorough 54-page Findings and

Recommendations, they will not be restated here.

      Bearchild's objections fall into two categories: (1) objections that rehash

similar arguments that Bearchild has made throughout this litigation; and (2)

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objections specifically directed toward Judge Johnston's Findings and

Recommendations. Consequently, the Court will address the objections Bearchild

makes regarding Judge Johnston's legal analysis under de novo review, and then

will review Bearchild' s rehashed arguments under a clear error standard.

Defendant Pasha also objected to Judge Johnston's legal analysis and the Court

will review those objections under de novo review.

I.    Motions to Strike

      Judge Johnston recommended denial of all of the motions to strike (Docs.

122, 139, 142, 144, 146, 148, 176, 181) because the court considered all pleadings

and evidence in its analysis. Sergeant Pasha takes issue with this ruling for two

reasons: first, because the denial of the motion could be determinative of

Bearchild's ability to use the subject exhibits and declarations in further hearings

and motions; and second, because there was confusion in the docketing on

CMIECF that was not the fault of Defendant Pasha, and because the Local Rules

of this Court do not permit sur-reply briefs without prior leave of court. The Court

agrees that Defendant Pasha is entitled to the full benefit of the denial of the

motions to strike without prejudice; thus, even though Judge Johnston considered

all of the evidence in his findings and recommendations, Defendant Pasha may

renew his motions to strike in any future hearings or motions.

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       As to Sergeant Pasha's second argument, the Court finds that Plaintiff

Bearchild's sur-reply briefs were filed in violation of the Local Rules. Thus,

Defendants' motion to strike the sur-reply briefs (Doc. 139) should be granted.

Under this district's L.R. 7.l(d)(l)(D), no further briefing after the reply brief is

permitted without prior leave. The Court agrees with Sergeant Pasha that while

there may have been a mishap regarding the document filing system at some point

in time, the record is now clear that Defendants sought to strike all of Bearchild' s

sur-reply briefs. (See Docs. 139, 140.) The Court finds that because Bearchild did

not seek leave of court to file his additional sur-reply briefs, and because these sur-

reply briefs are entirely redundant ofBearchild's initial arguments, Documents

134, 135, 136, 137, and 138 will be stricken.

II.    Motions for Injunctive Relief

       The Court agrees with Judge Johnston that Bearchild's motions for

injunctive relief (Docs. 159, 166, and 169) should be denied. No party objects to

this finding and recommendation. Thus, reviewing for clear error, the Court finds

none and these motions will be denied.

III.   Discovery Motions

       A.    Defendants Discovery Motions

       Defendants moved the court to amend the protective order. (Doc. 163.)

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Judge Johnston recommended that the motion be granted as to State documents

153,210,214,217,219-220,226,230,233,246,248,249,251,252,253,255,

435, 437, 445, 447, 449, and 455, because the redacted information on these

documents was irrelevant to Bearchild's claims. Judge Johnston also

recommended that the motion be granted as to the schedules at issue, because

those documents were similarly irrelevant to Bearchild's claims. No party

objected to this finding. The Court finds no clear error with this recommendation

and it will be adopted.

      B.     Bearchild's Discovery Motions

      Bearchild moved the Court to allow him access to unredacted copies of all

the documents produced in discovery. (Docs. 167, 173, 179.) Judge Johnston

recommended denial ofBearchild's remaining discovery motions because his

arguments were redundant and the court had already addressed the discovery

issues in this case at length in its previous order. (See Doc. 160.) Bearchild did

not object to this finding. Therefore, reviewing for clear error, the court finds

none and adopts the recommendation.

IV.   Motions for Summary Judgment

      First, Judge Johnston addresses the motions for summary judgment based on

failure to exhaust administrative remedies. Under the Prison Litigation Reform Act

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("PLRA"), a prisoner must exhaust his "administrative review process in

accordance with the applicable procedural rules, including deadlines, as a

precondition to bringing suit in federal court." Woodford v. Ngo, 548 U.S. 81, 88

(2006). Judge Johnston concluded that Bearchild had exhausted his administrative

remedies because he was granted the only available administrative remedy at

MSP: a PREA investigation. The PREA was completed and fully investigated so

the exhaustion requirement was fulfilled. No party objects to this finding, and the

Court finds no clear error in that determination.

      However, the merits ofBearchild's claims against Defendants Pasha,

Jovanovich, Cobban, Kraus, Johnson, and McDonald are in dispute. Judge

Johnston recommended that the Court grant summary judgment in favor of

Jovanovich, Cobban, Kraus, Johnson, and McDonald, but deny Sergeant Pasha's

motion for summary judgment. Sergeant Pasha objects to this finding, and

Bearchild objects to the finding as it relates to the other Defendants. The motions

will be addressed separately below.

      A.     Sergeant Pasha

      The pat-down search at issue in this case occurred at MSP in the lobby of

High Side Unit One (HSU-1) between 8:00 a.m. and 9:00 a.m. on November 4,

2013. Bearchild and at least two other inmates were exiting HSU-1 and were

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stopped by correctional officers for a routine pat-down before leaving.

      Judge Johnston recommends denial of Sergeant Pasha's motion for

summary judgment because the facts regarding the pat-down search are disputed.

Bearchild alleges that Sergeant Pasha rubbed and stroked his penis and testicles

for approximately five minutes. Sergeant Pasha claims that when he searched

Bearchild he detected an odd enlargement at the front ofBearchild's pants,

instructed Bearchild to face him for privacy reasons, and then instructed Bearchild

to lift his shirt and pull out the waistband of his pants so Sergeant Pasha could

determine ifthere was an object in Bearchild's pants. Bearchild replied to this

request that it was "[his] penis," Sergeant Pasha claims that he saw no other object

in Bearchild's groin area, and the pat-down was completed. Sergeant Pasha

asserts that the search lasted less than 60 seconds and was conducted according to

standard MSP pat-down procedure.

      Judge Johnston found that under the Eighth Amendment, which prohibits

cruel and unusual punishment in penal institutions, there is an issue of fact

regarding whether Sergeant Pasha's search was a permissible pat-down or a sexual

assault. Judge Johnston rejected Sergeant Pasha's contention that he is protected

by qualified immunity for the alleged sexual assault because the doctrine of

qualified immunity protects government officials "from liability for civil damages

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insofar as their conduct does not violate clearly established statutory or

constitutional rights of which a reasonable person would have known." Harlow v.

Fitzgerald, 457 U.S. 800, 818 (1982). Thus, Judge Johnston concluded that a

correctional officer could not be immune from a sexual assault. Schwenk v.

Hartford, 204 F.3d 1187, 1197 (9th Cir. 2000) ("In the simplest and most absolute

of terms ... prisoners [have a clearly established Eighth Amendment right] to be

free from sexual abuse ... ").

      Sergeant Pasha contends that the recommendation that qualified immunity

be denied falls into the traps identified by the United States Supreme Court in

Saucier v. Katz, 533 U.S. 194 (2001). He claims that the analysis fails to address

whether a reasonable officer in Sergeant Pasha's position could have believed that

his conduct was lawful. Further, Sergeant Pasha argues that the recommendation

does not undertake the "clearly established" inquiry set forth in Saucier in light of

the specific context of the case. In summary, Sergeant Pasha asserts that his

conduct was nothing more than routine security practices of a correctional officer

at MSP and the record proves that a reasonable officer in his position would not

have known that his pat search was unlawful.

      In Saucier, the Supreme Court mandated a two-step analysis for resolving a

government official's qualified immunity claim. "An officer will be denied

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qualified immunity in a § 1983 action only if ( 1) the facts alleged, taken in the

light most favorable to the party asserting injury, show that the officer's conduct

violated a constitutional right, and (2) the right at issue was clearly established at

the time of the incident such that a reasonable officer would have understood his

conduct to be unlawful in that situation." Torres v. City ofMadera, 648 F.3d

1119, 1123 (9th Cir. 2011) (citing Saucier, 533 U.S. at 200); see also White v.

Pauly, 137 S. Ct. 548, 552 (2017). 1 Thus, qualified immunity is applicable unless

the official's conduct violated a clearly established constitutional right. However,

"[i]f an officer reasonably, but mistakenly, believed that a suspect was likely to

fight back, for instance, the officer would be justified in using more force than in

fact was needed." Saucier, 533 U.S. at 205.

       The Court acknowledges that Judge Johnston's analysis of the doctrine of

qualified immunity as it relates to government officials was not lengthy.

Notwithstanding this fact, his analysis was concise and the recommendation was


       1
          Defendants filed a notice of supplemental authority on February 8, 2017, notifying the
Court of White v. Pauly, 137 S. Ct. 548 (2017), a recent United States Supreme Court case issued
on January 9, 2017, that analyzed the doctrine of qualified immunity as it relates to correctional
officers. (Doc. 216.) Bearchild objects to Defendants' notice. (Doc. 220.) The Court does not
agree with Bearchild that Defendants are offering new legal arguments. Defendants are merely
supplementing their briefs with recent case law that may alter the analysis of qualified immunity.
However, the Court has read White v. Pauly and finds that the facts are distinguishable from the
facts at issue here because this is a case where it is obvious that there was a violation of clearly
established law. Id. at 552 (concluding that the officer did not violate a clearly established law
under the Fourth Amendment).

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not in error. The first element of the test is met because the facts alleged by

Bearchild, when viewed in the light most favorable to Bearchild, show that

Sergeant Pasha violated Bearchild's constitutional right to be free from cruel and

unusual punishment under the Eighth Amendment. There is a genuine issue of

material fact as the length of the pat-down search and the intrusiveness of the

search. If Bearchild's account of the incident is proven at trial, a reasonable

officer in Sergeant Pasha's position would know that it is unlawful to conduct a

five minute pat-down search and stroke an inmate's penis for an extended period

of time. There is no dispute that a routine pat-down should take no longer than

sixty seconds.

      As to the second element, Judge Johnston specifically cites to Schwenk v.

Hartford, 204 F.3d 1187, 1197 (9th Cir. 2000), for the proposition that "[i]n the

simplest and most absolute of terms ... prisoners [have a clearly established

Eighth Amendment right] to be free from sexual abuse .... " Further, "[n]o lasting

physical injury is necessary to state a cause of action. Rather, the only

requirement is that the officer's actions be 'offensive to human dignity."' Id. at

1196. The Ninth Circuit has also held that "the law simply does not require that

we find a prior case with the exact factual situation in order to hold that the

official breached a clearly established duty." Id. at 1197 (quoting Alexander v.


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Perrill, 916 F.2d 1392, 1398 (9th Cir.1990)).

      Sergeant Pasha argues at length in his objection that the conduct at issue in

Schewnkv. Hartford, Woodv. Beauclair, 692F.3d1041 (9th Cir. 2012), and

Mathie v. Fries, 935 F. Supp. 1284, 1301 (E.D.N.Y. 19963), are highly

distinguishable from the misconduct alleged by Bearchild. This Court finds that

while a sexual assault can occur in a variety of manners, any type of sexual assault

by a correctional officer violates the Eighth Amendment because it is offensive to

human dignity. The Court does not agree that the conduct alleged by Bearchild is

any less important than the egregious sexual assaults described in the other cases.

Consequently, Bearchild has satisfied that the right at issue was clearly established

at the time of the incident in question. Sergeant Pasha is not entitled to qualified

immunity because there exists a question of fact regarding whether his pat-down

was a permissible manual palpitation of the groin area pursuant to MSP protocol

or a sexual assault.

      B.     Sam Jovanovich, Kristy Cobban, Dan Johnson, and Bruno Kraus

      Judge Johnston concluded, and this Court agrees, that summary judgment is

appropriate as it relates to Defendants Jovanovich, Cobban, Johnson and Kraus

because Bearchild does not allege any viable claim against these defendants.

Judge Johnston recommended that Lieutenant Jovanovich is not liable in his

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supervisory capacity because Bearchild failed to prove that Lieutenant Jovanovich

was "deliberately indifferent" to Bearchild's safety. As to Defendant Cobban,

Bearchild alleges that when she received notice ofBearchild's grievance, she

threatened to write him up and lock him up for using the grievance system.

However, the undisputed timing of events proves that she did not receive notice of

Bearchild's grievance until after November 13, 2014, so this alleged conduct

could never have occurred on that specific date. In regards to the retaliation

claims against Defendants Cobban, Johnson and Kraus, for allegedly threatening

to deny Bearchild meals, write him up, or not process his grievances, Judge

Johnston recommended that these claims be dismissed because Bearchild is unable

to establish the causation element; that is, that Bearchild's grievance is what

caused the Defendants to retaliate and that their actions were taken against

Bearchild because of his protected conduct.

      Bearchild objects to Judge Johnston's findings regarding these Defendants,

but fails to specifically object to Judge Johnston's reasoning. Bearchild reiterates

the same arguments he has made throughout this litigation, and further contends

that Judge Johnston's finding violates Bearchild's constitutional right to access to

the courts and his first amendment right to free speech. This Court will not

address Bearchild' s arguments regarding access to the courts and violation of his

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first amendment right because these are new arguments. Thus, the Court reviews

the record for clear error and, finding none, the Court adopts Judge Johnston's

findings as it relates to Defendants Jovanovich, Cobban, Johnson, and Kraus.

      C.     Ron McDonald

      Defendant Ron McDonald ("Sergeant McDonald") moved for summary

judgment following Judge Johnston's disposition on the other Defendants'

motions. Therefore, Judge Johnston issued subsequent Findings and

Recommendation solely related to the claims against Sergeant McDonald. (Doc.

212.) Bearchild alleges two claims against Sergeant McDonald: (1) that he failed

to supervise and train his subordinate officers, and (2) that he threatened Bearchild

if more grievances were filed. Judge Johnston recommended that the claims be

dismissed because the court had already found no underlying violation of

Bearchild's constitutional rights committed by Defendants Kraus and Johnson, and

therefore Sergeant McDonald could have no liability in his supervisory capacity.

Second, Judge Johnston concluded that Bearchild failed to present any evidence

suggesting that Sergeant McDonald acted in retaliation in his personal capacity.

      Bearchild objects and states that the Court should grant him the ability to

amend his complaint so he can adequately allege his constitutional claims. The

Court denies this request, as Bearchild has already amended his complaint and was

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given the opportunity to cure his deficiencies. Bearchild further contends that

there was a conspiracy among the correctional officers to deprive Bearchild of

meals and his access to the grievance process, and that the discovery proves their

conspiracy through a pattern of reoccurring acts by the officers. The Court agrees

with Judge Johnson that while Bearchild continues to assert this position, it is not

supported whatsoever by the facts.

      Finally, Bearchild claims that an amendment of his complaint is warranted

because he needs to include claims of illegal detention and wrongful

imprisonment. The Court finds that Bearchild failed to raise these claims before

Judge Johnston. "[A]llowing parties to litigate fully their case before the

magistrate and, if unsuccessful, to change their strategy and present a different

theory to the district court would frustrate the purpose of the Magistrates Act."

Friends of the Wild Swan v. Weber, 955 F. Supp. 2d 1191, 1194 (D. Mont. 2013),

afj"d, 767 F.3d 936 (9th Cir. 2014) (citation omitted). "The Magistrates Act was

[not] intended to give litigants an opportunity to run one version of their case past

the magistrate, then another past the district court." Id. Thus, because Bearchild

failed to present any of these claims throughout the litigation, the Court declines to

address them now. Bearchild's objections are overruled.

      Accordingly, IT IS ORDERED that Judge Johnston's Findings and

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Recommendations (Docs. 190, 212) are ADOPTED IN PART.

      (1)    Sergeant Pasha's Motion for Summary Judgment (Doc. 74) is

DENIED.

      (2)    The Motions for Summary Judgment of Sam Jovanovich, Kristy

Cobban, Bruno Kraus, Dan Johnson, and Ron McDonald (Docs. 78, 82, 86, 90,

194) are GRANTED.

      (3)    Bearchild's Request/Petition for Court Intervention (Doc. 159)

is DENIED.

      (4)    Bearchild' s Request for Protective Order due to Recent Defendant

Retaliation (Doc. 166) is DENIED.

      (5)    Bearchild's Request for Court Intervention because of an Agent of

Defendants' Retaliation Against Plaintiff (Doc. 169) is DENIED.

      (6)    Defendants' Motion to Strike (Doc. 139) is GRANTED. Documents

134, 135, 136, 137, and 138 shall be stricken from the record.

      (7)    Denise Deyott is DISMISSED as a Defendant, and the Clerk of Court

shall terminate her as a defendant in this matter.

      DATED this ~day of April, 20              .




                                        Dana L. Chris ensen, Chief Judge
                                        United States District Court

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